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3    Sacramento, CA 95814
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4
     Attorney for Defendant
5    Siew Yoke Ng

6                       IN THE UNITED STATES DISTRICT COURT
7                  IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,           )   Case No. Cr.S-07-025 EJG
                                         )
10                 Plaintiff,            )   STIPULATION AND RESCHEDULING
                                         )   SENTENCING
11           vs.                         )
                                         )   Date:    March 13, 2009
12                                       )   Time:    10:00 AM
     SIEW YOKE NG                        )   Court:   EJG
13                                       )
                   Defendant             )
14                                       )

15
             It is hereby stipulate between the parties, by and through
16
     their respective counsel as follows to reschedule sentencing in
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18
     the above referenced matter from February 27, 2009 to March 13,

19   2009.

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2         IT IS SO STIPULATED
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4

5
          /S/MICHAEL B. BIGELOW, Esq.,                 February 26, 2009
6         Michael b. Bigelow
          Attorney for Siew Yoke Ng
7

8         /S/HEIKO COPPALA, Esq.,                      February 26, 2009
          Heiko Coppola, Esq.,
9         Assistant United States Attorney
10

11

12
                                     ORDER
13
          IT IS HEREBY ORDERED that the matter be rescheduled for
14
     sentencing on March 13, 2009
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16

17         /s/ Edward J. Garcia, Jr.       February 26, 2009 , 2009
                                             February
          Hon. EDWARD J. GARCIA, JR.
18
          Senior U.S. District Court Judge
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